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                             THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION


    UNITED STATES OF AMERICA,                            §
                                                         §
                       Plaintiff,                        §
                                                         §
    v.                                                   §
                                                         §   CIVIL NO.: 7:20-CV-165
    11.580 ACRES OF LAND, MORE OR                        §
    LESS, SITUATE IN STARR COUNTY,                       §
    STATE OF TEXAS; AND VIOLA                            §
    GARZA, et al.,                                       §
                                                         §
                         Defendants.                     §



                       UNITED STATES OF AMERICA’S STATUS UPDATE


            On February 8, 2021, the Court set a deadline for the United States of America (hereinafter

“United States”) to file a status report regarding the status of the probate proceedings related to

this case by April 2, 2021 1, pursuant to that Order the United States updates the Court as follows:

         1. The Estate of Rolando J. Vallejo, deceased is still pending in the Probate Court of Hidalgo

County, Texas.

         2. As of April 2, 2021, the hearing for the Estate of Rolando J. Vallejo on Application for

Probate of Will and Issuance of Letters Testamentary has not been reset, nor has an Order been

issued.




1
    Dkt. No. 26.

                                                     1
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    3. As soon as the Probate Court of Hidalgo County identifies an executor/executrix for the

Estate of Rolando J. Vallejo the United States will file the appropriate motion to add the

executor/executrix as a party to the case, and once added, will seek proper service.

    4. Additionally, the United States is still awaiting guidance in light of the Presidential

Proclamation on January 20, 2021, which paused all construction on the southern border and

ordered a “careful review of all resources appropriated or redirected to construct a southern border

wall related to the border wall project.” 2

    5. This case sought to acquire a fee simple interest in property identified as Tract RGV-RGC-

9047. 3 While title to Tract RGV-RGC-9047 has vested in the United States by operation of law 4,

the United States has not yet obtained possession of the property. 5

    6. Construction of the border wall has not yet begun on Tract RGV-RGC-9047; however,

there has been some clearing of brush and work related to access roads on or near the parent tract.

    7. In conclusion, the Estate of Rolando J. Vallejo has yet to be served and the border wall

project for Tract RGV-RGC-9047 could be impacted by the findings of the referenced 60-day plan

when finalized. 6




2
  Pres. Proc. No. 10142, 86 Fed. Reg. 7225 (Jan. 20, 2021), https://www.whitehouse.gov/briefing-room/presidential-
actions/2021/01/20/proclamation-termination-of-emergency-with-respect-to-southern-border-of-united-states-and-
redirection-of-funds-diverted-to-border-wall-construction/.
3
  Dkt. No. 2.
4
  40 U.S.C. § 3114(b).
5
  Dkt. No. 14.
6
  See Pres. Proc. No. 10142, 86 Fed. Reg. 7225 (Jan. 20, 2021) at Sec. 2.

                                                        2
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                                                     Respectfully submitted,

                                                     JENNIFER B. LOWERY
                                                     Acting United States Attorney
                                                     Southern District of Texas


                                             By:     s/ Megan Eyes
                                                     MEGAN EYES
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                                                     Attorney in Charge for Plaintiff


                                CERTIFICATE OF SERVICE

       I certify that on April 2, 2021, a copy of the foregoing was electronically filed in the

CM/ECF system, which will automatically serve a Notice of Electronic Filing on counsel of record

and was provided to all potential heirs of Rolando J. Vallejo, deceased by electronic mail.


                                                     By:    s/ Megan Eyes
                                                            MEGAN EYES
                                                            Assistant United States Attorney




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